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 1 Jose DeCastro
   1258 Franklin St.
 2 Santa Monica, CA 90404
   (310) 963-2445
 3 chille@situationcreator.com

 4

 5                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 6

 7    JOSE DECASTRO                                      ) Case No.:
                                                         )
 8                          Plaintiff,                   ) CERTIFICATE OF SERVICE
                                                         )
 9    v.                                                 )
                                                         )
10    LAS VEGAS METROPOLITAN POLICE                      )
      DEPARTMENT, et al.                                 )
11                                                       )
                          Defendants.                    )
12                                                       )
      _____________________________________              )
13

14          The undersigned hereby certifies that he is a person of such age and discretion to be

15 competent to serve papers. The undersigned further certifies that he caused a copy of:

16                  1. FIRST AMENDED COMPLAINT, DOCUMENT 13

17                  2. CERTIFICATE OF SERVICE

18 to be served this date via U.S. first class mail delivery upon the party below at the place and

19 address which is the last known address:

20          Las Vegas Metro Police Department
            ATTN: LEGAL DEPARTMENT
21          400 S. Martin Luther King Blvd.
            LAS VEGAS NV 89106
22

23


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           Case 2:23-cv-00580-APG-EJY Document 14 Filed 05/09/23 Page 2 of 2




 1                                              DECLARATION

 2 I declare under penalty of perjury, that the foregoing is true and correct.

 3 DATED: May 9, 2023                                    Respectfully submitted,

 4
                                                         _______________________
 5                                                       Jose DeCastro
                                                         1258 Franklin St.
 6                                                       Santa Monica, CA 90404
                                                         chille@situationcreator.com
 7                                                       (310) 963-2445
                                                         Pro Se
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